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                 UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY
___________________________________
UNITED STATES OF AMERICA,

                                                   Civil Action No.: 2:24-cv-8716
                    Plaintiff,
      v.
                                                   US Debt Collection Case
                                                   (Action by the United States to
                                                   Recover Fines under 47 C.F.R.
                                                   64.601 et al)
QUICKCONNECT.COM
DBA QUICKCONNECT TECHNOLOGY SERVICES INC.
DBA QUICKCONNECT.COMM INC.
DBA QUICKCONNECTED.COM

               Defendant.
___________________________________

                                   COMPLAINT

      COMES NOW Plaintiff, UNITED STATES OF AMERICA, by and through

its undersigned attorney, alleges that:

                          JURISDICTION AND VENUE

      1.     This Court has jurisdiction over an action commenced by the United

States under 28 U.S.C. § 1345.

      2.     Venue of this Court is proper under 28 U.S.C. § 1391 in that

Defendant’s principal place of business is in Wayne, New Jersey, within the District

of New Jersey.




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                                     PARTIES

      3.     Plaintiff, United States of America, is filing this claim on behalf of its

federal agency, Federal Communications Commission (hereinafter “FCC”).

      4.     Defendant, Quickconnect.com (“Defendant”) was and now is a New

Jersey corporation having its principal place of business in the County of Passiac,

City of Wanye, State of New Jersey. It may be doing business by several similar

and related names that are linked to the same company by publicly shared

addresses, including but not limited to Quickconnect Technology Services Inc.,

Quickconnect.comm Inc., and Quickconnected.com.

                                       FACTS

      5.     FCC, an Administrator of the Interstate Telecommunications and

Relay Service Fund (“TRS Fund”), requires “[E]very carrier providing interstate or

intrastate telecommunications services (including interconnected VoIP service

providers pursuant to §64.601(b)), non-interconnected VoIP service shall contribute

to the TRS Fund…based on interstate end-user revenues…” (47 C.F.R. §

64.604.c.5.ii.A, 2023). No written agreement with the United States of America is

required. The TRS Fund contribution fees, assessments, and charges computations

along with Department of Treasury and Department of Justice fees are set forth in

47 C.F.R. § 64.604.c.5.iii.A (2023), 31 U.S.C. § 3717 (1996), 31 C.F.R. § 901.1




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(2023), 47 C.F.R. § 1.1940 (2023), 31 U.S.C § 3711 (2021), and 31 C.F.R. §

285.12 (2022).

      6.     FCC referred the claims to U.S. Department of Treasury’s Bureau of

Fiscal Service, Debt Management Services and the U.S. Department of Justice1 for

collection of the delinquent amounts in accordance with the Debt Collections

Improvement Act of 1996 (DCIA) (31 U.S.C. § 3701 et seq.).

      7.     Defendant applied and is registered with FCC as a provider of

Interconnected VoIP Communications Services to several states including the state

of New Jersey.

      8.     Defendants filed regulatory certification and compliance statements

with the FCC.

      9.     Defendant provided interstate or intrastate telecommunications

services covered by 47 C.F.R. 64.604.c.5.ii (2023) to its customers and was

assessed fees for providing those services. Plaintiff sent invoices quarterly for the

assessment and said payment was due as stated on the invoice. Unpaid invoices

were assessed interest, penalties, and administrative fees.

      10.    On various dates from August 24, 2018 through June 15, 2023, FCC

invoiced Defendant for those services through its Administrator Universal Service

Administrative Co. As set forth below, Defendant failed to make payment when due.




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      11.      Prior to the commencement of this action, demand was made on

Defendant for payment, but Defendant failed to pay the sum due, and the whole

amount of such sum is now due, owing, and unpaid.



                            FIRST CLAIM FOR RELIEF

       (Against Defendant for Claim Number: TRFM10147875 (CDCS No.

                                     2024A10185))

      12.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

Complaint as though fully set forth herein.

      13.      On or about August 24, 2018, FCC, by and through Universal Service

Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

$29,618.05. Defendant has failed to make payment when due and has failed to cure

the default.

      14.      The principal balance owing is $29,618.05, plus penalties accruing at

the annual rate of 6.00%, administrative fees, and interest accruing at the annual

rate of 6.0%, according to proof.

      15.      Therefore, Plaintiff has been harmed in the amount of $62,797.97,

plus additional accrued penalties and interest according to proof, and attorneys’

fees and costs as applicable.




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                          SECOND CLAIM FOR RELIEF

       (Against Defendant for Claim Number: TRFM12742291 (CDCS No.

                                     2024A10202))

      16.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

Complaint as though fully set forth herein.

      17.      On August 23, 2019, FCC, by and through Universal Service

Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

$25,730.51. Defendant has failed to make payment when due and has failed to cure

the default.

      18.      There is a balance owing is $25,730.51, plus penalties accruing at the

annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

of 6.00%, according to proof.

      19.      Therefore, Plaintiff has been harmed in the amount of $52,876.68,

plus additional accrued penalties and interest according to proof, and attorneys’

fees and costs as applicable.



                           THIRD CLAIM FOR RELIEF

       (Against Defendant for Claim Number: TRFM13814365 (CDCS No.

                                     2024A10252))




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      20.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of

this Complaint as though fully set forth herein.

      21.      On August 23, 2020, FCC, by and through Universal Service

Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

$21,499.08. Defendant has failed to make payment when due and has failed to cure

the default.

      22.      The principal balance owing is $21,499.08, plus penalties accruing at

the annual rate of 6.00%, administrative fees, and interest accruing at the annual

rate of 6.00%, according to proof.

      23.      Therefore, Plaintiff has been harmed in the amount of $40,794.93,

plus additional accrued penalties and interest according to proof, and attorneys’

fees and costs as applicable.



                          FOURTH CLAIM FOR RELIEF

       (Against Defendant for Claim Number: TRFM15128355 (CDCS No.

                                     2024A10428))

      24.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

Complaint as though fully set forth herein.

      25.      On April 15, 2022, FCC, by and through Universal Service

Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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$20,231.77. Defendant has failed to make payment when due and has failed to cure

the default.

      26.      The principal balance owing is $20,231.77, plus penalties accruing at

the annual rate of 6.00%, administrative fees, and interest accruing at the annual

rate of 6.75%, according to proof.

      27.      Therefore, Plaintiff has been harmed in the amount of $35,979.89,

plus additional accrued penalties and interest according to proof, and attorneys’

fees and costs as applicable.



                           FIFTH CLAIM FOR RELIEF

       (Against Defendant for Claim Number: TRFM17079462 (CDCS No.

                                     2024A11201))

      28.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

Complaint as though fully set forth herein.

      29.      On April 14, 2023, FCC, by and through Universal Service

Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

$24,591.30. Defendant has failed to make payment when due and has failed to cure

the default.




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      30.      The principal balance owing is $24,591.30, plus penalties accruing at

the annual rate of 6.00%, administrative fees, interest accruing at the annual rate of

6.75%, according to proof.

      31.      Therefore, Plaintiff has been harmed in the amount of $35,559.19,

plus additional accrued penalties and interest according to proof, and attorneys’

fees and costs as applicable.



                           SIXTH CLAIM FOR RELIEF

       (Against Defendant for Claim Number: TRFM15128352 (CDCS No.

                                     2024A10435))

      32.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

Complaint as though fully set forth herein.

      33.      On April 15, 2022, FCC, by and through Universal Service

Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

$19,394.16. Defendant has failed to make payment when due and has failed to cure

the default.

      34.      The principal balance owing is $19,394.16, plus penalties accruing at

the annual rate of 6.00%, administrative fees, and interest accruing at the annual

rate of 6.75%, according to proof.




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      35.      Therefore, Plaintiff has been harmed in the amount of $35,316.58,

plus additional accrued penalties and interest according to proof, and attorneys’

fees and costs as applicable.



                         SEVENTH CLAIM FOR RELIEF

       (Against Defendant for Claim Number: TRFM11521375 (CDCS No.

                                     2024A11207))

      36.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

Complaint as though fully set forth herein.

      37.      On February 15, 2019, FCC, by and through Universal Service

Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

$15,161.47. Defendant has failed to make payment when due and has failed to cure

the default.

      38.      The principal balance owing is $15,161.47, plus penalties accruing at

the annual rate of 6.00%, administrative fees, and interest accruing at the annual

rate of 9.00%, according to proof.

      39.      Therefore, Plaintiff has been harmed in the amount of $35,241.28,

plus additional accrued penalties and interest according to proof, and attorneys’

fees and costs as applicable.




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                            EIGHTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128353 (CDCS No.

                                       2024A10942))

        40.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        41.      On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $19,245.95. Defendant has failed to make payment when due and has failed to cure

  the default.

        42.      The principal balance owing is $19,245.95, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        43.      Therefore, Plaintiff has been harmed in the amount of $34,767.20,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                             NINTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM14179438 (CDCS No.

                                       2024A10298))




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        44.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        45.      On August 22, 2021, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $20,017.56. Defendant has failed to make payment when due and has failed to cure

  the default.

        46.      The principal balance owing is $20,017.56 plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.00%, according to proof.

        47.      Therefore, Plaintiff has been harmed in the amount of $34,732.00,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                             TENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128356 (CDCS No.

                                       2024A10947))

        48.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        49.      On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $19,667.31. Defendant has failed to make payment when due and has failed to cure

  the default.

        50.      The principal balance owing is $19,667.31, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        51.      Therefore, Plaintiff has been harmed in the amount of $34,681.64,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                          ELEVENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM11102689 (CDCS No.

                                       2024A10200))

        52.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        53.      On December 14, 2018, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,335.43. Defendant has failed to make payment when due and has failed to cure

  the default.




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        54.      The principal balance owing is $15,335.43, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.75%, according to proof.

        55.      Therefore, Plaintiff has been harmed in the amount of $34,476.57,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                           TWELFTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128354 (CDCS No.

                                       2024A10438))

        56.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        57.      On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $19,235.60. Defendant has failed to make payment when due and has failed to cure

  the default.

        58.      The principal balance owing is $19,235.60, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, with penalties and interest continuing to accrue thereafter according

  to proof.


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        59.      Therefore, Plaintiff has been harmed in the amount of $34,469.52,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                         THIRTEENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM11102691 (CDCS No.

                                       2024A11236))

        60.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        61.      On December 14, 2018, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,172.57. Defendant has failed to make payment when due and has failed to cure

  the default.

        62.      The principal balance owing is $15,172.57, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 9.00%, according to proof.

        63.      Therefore, Plaintiff has been harmed in the amount of $34,460.63,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.




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                        FOURTEENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128357 (CDCS No.

                                       2024A10954))

        64.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        65.      On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $19,688.39. Defendant has failed to make payment when due and has failed to cure

  the default.

        66.      The principal balance owing is $19,688.39, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        67.      Therefore, Plaintiff has been harmed in the amount of $34,442.31,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                          FIFTEENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13350028 (CDCS No.

                                       2024A10303))




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        68.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        69.      On October 15, 2019, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,960.78. Defendant has failed to make payment when due and has failed to cure

  the default.

        70.      The principal balance owing is $15,960.78, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.25%, according to proof.

        71.      Therefore, Plaintiff has been harmed in the amount of $34,261.26,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                          SIXTEENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128358 (CDCS No.

                                       2024A11225))

        72.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        73.      On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $19,622.60. Defendant has failed to make payment when due and has failed to cure

  the default.

        74.      The principal balance owing is $19,622.60, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        75.      Therefore, Plaintiff has been harmed in the amount of $34,060.94,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                        SEVENTEENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM11102687 (CDCS No.

                                       2024A11355))

        76.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        77.      On December 14, 2018, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,179.64. Defendant has failed to make payment when due and has failed to cure

  the default.




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        78.      The principal balance owing is $15,179.64, plus penalties accruing at9

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.75%, according to proof.

        79.      Therefore, Plaintiff has been harmed in the amount of $33,865.20,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                         EIGHTEENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM11316203 (CDCS No.

                                       2024A11205))

        80.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        81.      On January 15, 2019, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,339.70. Defendant has failed to make payment when due and has failed to cure

  the default.

        82.      The principal balance owing is $15,339.70, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 9.00%, according to proof.




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        83.      Therefore, Plaintiff has been harmed in the amount of $33,858.38,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                         NINETEENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13672470 (CDCS No.

                                       2024A10320))

        84.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        85.      On November 15, 2019, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,790.57. Defendant has failed to make payment when due and has failed to cure

  the default.

        86.      The principal balance owing is $15,790.57, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.25%, according to proof.

        87.      Therefore, Plaintiff has been harmed in the amount of $33,660.97,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.




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                         TWENTIETH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128359 (CDCS No.

                                       2024A11222))

        88.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        89.      On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $19,156.89. Defendant has failed to make payment when due and has failed to cure

  the default.

        90.      The principal balance owing is $19,156.89, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        91.      Therefore, Plaintiff has been harmed in the amount of $32,956.56,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                        TWENTY-FIRST CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128360 (CDCS No.

                                       2024A11284))




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        92.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        93.      On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $19,198.79. Defendant has failed to make payment when due and has failed to cure

  the default.

        94.      The principal balance owing is $19,198.79, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        95.      Therefore, Plaintiff has been harmed in the amount of $32,758.89,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                      TWENTY-SECOND CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128349 (CDCS No.

                                       2024A10390))

        96.      Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        97.      On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $17,177.61. Defendant has failed to make payment when due and has failed to cure

  the default.

        98.      The principal balance owing is $17,177.61, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        99.      Therefore, Plaintiff has been harmed in the amount of $32,012.11,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                       TWENTY-THIRD CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM11102685 (CDCS No.

                                       2024A10198))

        100. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        101. On December 14, 2018, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $13,876.95. Defendant has failed to make payment when due and has failed to cure

  the default.




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        102. The principal balance owing is $13,876.95, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.50%, according to proof.

        103. Therefore, Plaintiff has been harmed in the amount of $31,994.54,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                    TWENTY-FOURTH CLAIM FOR RELIEF

  (Against Defendant for Claim Number: TRFM1102688 (CDCS No. 2024A12405))

        104. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        105. On December 14, 2018, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $13,879.54. Defendant has failed to make payment when due and has failed to cure

  the default.

        106. The principal balance owing is $13,879.54, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.50%, according to proof.




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        107. Therefore, Plaintiff has been harmed in the amount of $31,935.10,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                      TWENTY-FIFTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM11102690 (CDCS No.

                                       2024A11239))

        108. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        109. On December 14, 2018, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $13,879.54. Defendant has failed to make payment when due and has failed to cure

  the default.

        110. The principal balance owing is $13,879.54, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.50%, according to proof.

        111. Therefore, Plaintiff has been harmed in the amount of $31,725.03,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.




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                      TWENTY-SIXTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128350 (CDCS No.

                                       2024A10385))

        112. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        113. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $16,977.61. Defendant has failed to make payment when due and has failed to cure

  the default.

        114. The principal balance owing is $16,977.61, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        115. Therefore, Plaintiff has been harmed in the amount of $31,385.00,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                   TWENTY-SEVENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128351 (CDCS No.

                                       2024A10367))




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        116. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        117. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $16,977.61. Defendant has failed to make payment when due and has failed to cure

  the default.

        118. The principal balance owing is $16,977.61, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        119. Therefore, Plaintiff has been harmed in the amount of $31,138.57,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                    TWENTY-EIGHTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15874032 (CDCS No.

                                       2024A11245))

        120. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        121. On July 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $20,063.98. Defendant has failed to make payment when due and has failed to cure

  the default.

        122. The principal balance owing is $20,063.98, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 9.00% according to proof.

        123. Therefore, Plaintiff has been harmed in the amount of $31,122.22,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                     TWENTY-NINTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128361 (CDCS No.

                                      2024A11312))

        124. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        125. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $18,206.67. Defendant has failed to make payment when due and has failed to cure

  the default.




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        126. The principal balance owing is $18,206.67, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        127. Therefore, Plaintiff has been harmed in the amount of $30,801.87,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                        THIRTIETH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM11102686 (CDCS No.

                                       2024A11228))

        128. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        129. On December 14, 2018, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $13,676.95. Defendant has failed to make payment when due and has failed to cure

  the default.

        130. The principal balance owing is $13,676.95, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.50%, according to proof.




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        131. Therefore, Plaintiff has been harmed in the amount of $30,768.64,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                       THIRTY-FIRST CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13929511 (CDCS No.

                                       2024A10379))

        132. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        133. On November 13, 2020, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,757.71. Defendant has failed to make payment when due and has failed to cure

  the default.

        134. The principal balance owing is $15,757.71, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.25%, according to proof.

        135. Therefore, Plaintiff has been harmed in the amount of $30,761.26,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.




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                     THIRTY-SECOND CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13929476 (CDCS No.

                                       2024A10551))

        136. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        137. On November 13, 2020, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,514.77. Defendant has failed to make payment when due and has failed to cure

  the default.

        138. The principal balance owing is $15,514.77, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.75%, according to proof.

        139. Therefore, Plaintiff has been harmed in the amount of $30,310.30,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                      THIRTY-THIRD CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128362 (CDCS No.

                                       2024A11317))




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        140. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        141. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $18,017.15. Defendant has failed to make payment when due and has failed to cure

  the default.

        142. The principal balance owing is $18,017.15, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        143. Therefore, Plaintiff has been harmed in the amount of $30,228.12,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                     THIRTY-FOURTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13350389 (CDCS No.

                                       2024A10218))

        144. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        145. On October 15, 2019, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $14,315.30. Defendant has failed to make payment when due and has failed to cure

  the default.

        146. The principal balance owing is $14,315.30, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.75%, according to proof.

        147. Therefore, Plaintiff has been harmed in the amount of $30,218.43,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                      THIRTY-FIFTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13929484 (CDCS No.

                                       2024A10551))

        148. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        149. On November 13, 2020, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,350.66. Defendant has failed to make payment when due and has failed to cure

  the default.




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        150. The principal balance owing is $15,350.66, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.75%, according to proof.

        151. Therefore, Plaintiff has been harmed in the amount of $29,998.13,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                      THIRTY-SIXTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128363 (CDCS No.

                                       2024A10430))

        152. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        153. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $18,006.67. Defendant has failed to make payment when due and has failed to cure

  the default.

        154. The principal balance owing is $18,006.67, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.




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        155. Therefore, Plaintiff has been harmed in the amount of $29,957.73,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                    THIRTY-SEVENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13929486 (CDCS No.

                                       2024A10285))

        156. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        157. On November 13, 2020, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,336.17. Defendant has failed to make payment when due and has failed to cure

  the default.

        158. The principal balance owing is $15,336.17, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.50%, according to proof.

        159. Therefore, Plaintiff has been harmed in the amount of $29,873.62,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.




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                     THIRTY-EIGHTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13707972 (CDCS No.

                                       2024A10257))

        160. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        161. On January 15, 2020, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $14,144.79. Defendant has failed to make payment when due and has failed to cure

  the default.

        162. The principal balance owing is $14,144.79, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.25%, according to proof.

        163. Therefore, Plaintiff has been harmed in the amount of $29,671.72,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                      THIRTY-NINTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13730613 (CDCS No.

                                       2024A10211))




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        164. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        165. On February 14, 2020, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $13,911.94. Defendant has failed to make payment when due and has failed to cure

  the default.

        166. The principal balance owing is $13,911.94, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 7.75%, according to proof.

        167. Therefore, Plaintiff has been harmed in the amount of $28,659.54,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                         FORTIETH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13929473 (CDCS No.

                                       2024A10394))

        168. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        169. On November 13, 2020, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $14,047.24. Defendant has failed to make payment when due and has failed to cure

  the default.

        170. The principal balance owing is $14,047.24, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 9.00%, according to proof.

        171. Therefore, Plaintiff has been harmed in the amount of $27,607.96,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                       FORTY-FIRST CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128364 (CDCS No.

                                     2024A111372))

        172. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        173. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $16,448.91. Defendant has failed to make payment when due and has failed to cure

  the default.




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        174. The principal balance owing is $16,448.91, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        175. Therefore, Plaintiff has been harmed in the amount of $27,119.62,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                     FORTY-SECOND CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128365 (CDCS No.

                                       2024A11272))

        176. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        177. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $16,269.86. Defendant has failed to make payment when due and has failed to cure

  the default.

        178. The principal balance owing is $16,269.86, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.




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        179. Therefore, Plaintiff has been harmed in the amount of $26,611.04,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                       FORTY-THIRD CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128366 (CDCS No.

                                       2024A11327))

        180. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        181. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $16,227.95. Defendant has failed to make payment when due and has failed to cure

  the default.

        182. The principal balance owing is $16,227.95, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 7.00%, according to proof.

        183. Therefore, Plaintiff has been harmed in the amount of $26,396.51,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.




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                     FORTY-FOURTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13764602 (CDCS No.

                                       2024A10214))

        184. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        185. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $13,271.90. Defendant has failed to make payment when due and has failed to cure

  the default.

        186. The principal balance owing is $13,271.90, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        187. Therefore, Plaintiff has been harmed in the amount of $26,249.60,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                       FORTY-FIFTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128367 (CDCS No.

                                       2024A11248))




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        188. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        189. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,697.29. Defendant has failed to make payment when due and has failed to cure

  the default.

        190. The principal balance owing is $15,697.29, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 7.50%, according to proof.

        191. Therefore, Plaintiff has been harmed in the amount of $25,488.48,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                       FORTY-SIXTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15128348 (CDCS No.

                                       2024A10359))

        192. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        193. On April 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $16,000.41. Defendant has failed to make payment when due and has failed to cure

  the default.

        194. The principal balance owing is $16,000.41, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        195. Therefore, Plaintiff has been harmed in the amount of $25,024.38,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                     FORTY-SEVENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15261917 (CDCS No.

                                       2024A11321))

        196. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        197. On May 13, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,219.17. Defendant has failed to make payment when due and has failed to cure

  the default.




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        198. The principal balance owing is $15,219.17, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.25%, according to proof.

        199. Therefore, Plaintiff has been harmed in the amount of $24,641.18,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                      FORTY-EIGHTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15726567 (CDCS No.

                                       2024A10957))

        200. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        201. On June 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $15,219.17. Defendant has failed to make payment when due and has failed to cure

  the default.

        202. The principal balance owing is $15,219.17, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 8.25%, according to proof.




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        203. Therefore, Plaintiff has been harmed in the amount of $24,418.29,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                       FORTY-NINTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM11721380 (CDCS No.

                                       2024A11208))

        204. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        205. On March 15, 2019, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $8,594.47. Defendant has failed to make payment when due and has failed to cure

  the default.

        206. The principal balance owing is $8,594.47, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 9.00%, according to proof.

        207. Therefore, Plaintiff has been harmed in the amount of $18,088.08,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.




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                         FIFTIETH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM12182526 (CDCS No.

                                       2024A11209))

        208. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        209. On May 15, 2019, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $7,996.45. Defendant has failed to make payment when due and has failed to cure

  the default.

        210. The principal balance owing is $7,996.45, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 9.00%, according to proof.

        211. Therefore, Plaintiff has been harmed in the amount of $17,741.76,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                        FIFTY-FIRST CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13929468 (CDCS No.

                                       2024A10246))




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        212. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        213. On November 13, 2020, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $8,525.08. Defendant has failed to make payment when due and has failed to cure

  the default.

        214. The principal balance owing is $8,525.08, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 9.00%, according to proof.

        215. Therefore, Plaintiff has been harmed in the amount of $16,216.18,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                      FIFTY-SECOND CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM17079463 (CDCS No.

                                       2024A11230))

        216. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        217. On April 14, 2023, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $9,296.91. Defendant has failed to make payment when due and has failed to cure

  the default.

        218. The principal balance owing is $9,296.91, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        219. Therefore, Plaintiff has been harmed in the amount of $12,829.73,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                       FIFTY-THIRD CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13746314 (CDCS No.

                                       2024A11354))

        220. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        221. On March 13, 2020, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $6,195.55. Defendant has failed to make payment when due and has failed to cure

  the default.




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        222. The principal balance owing is $6,195.55, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        223. Therefore, Plaintiff has been harmed in the amount of $12,074.14,

  plus additional accrued penalties and interest according to proof, and attorneys’

  fees and costs as applicable.



                      FIFTY-FOURTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM16581304 (CDCS No.

                                       2024A11227))

        224. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        225. On September 30, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $4,185.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        226. The principal balance owing is $4,185.00, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 1.00%, according to proof.




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        227. Therefore, Plaintiff has been harmed in the amount of $7,466.95, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         FIFTY-FIFTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM14622709 (CDCS No.

                                       2024A10376))

        228. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        229. On September 27, 2021, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $3,704.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        230. The principal balance owing is $3,704.00, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 1.00%, according to proof.

        231. Therefore, Plaintiff has been harmed in the amount of $7,064.98, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.




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                         FIFTY-SIXTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM10479939 (CDCS No.

                                       2024A11309))

        232. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        233. On September 25, 2018, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $3,077.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        234. The principal balance owing is $3,077.00, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 1.00%, according to proof.

        235. Therefore, Plaintiff has been harmed in the amount of $6,540.86, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                     FIFTY-SEVENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13040485 (CDCS No.

                                       2024A10206))




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        236. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        237. On September 27, 2019, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $2,935.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        238. The principal balance owing is $2,935.00, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 1.00%, according to proof.

        239. Therefore, Plaintiff has been harmed in the amount of $6,157.44, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         FIFTY-EIGHTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM13867088 (CDCS No.

                                       2024A10251))

        240. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        241. On September 28, 2020, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $2,972.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        242. The principal balance owing is $2,972.00, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 2.00%, according to proof.

        243. Therefore, Plaintiff has been harmed in the amount of $6,078.41, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         FIFTY-NINTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM17079464 (CDCS No.

                                       2024A11274))

        244. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        245. On April 14, 2023, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $3,579.02. Defendant has failed to make payment when due and has failed to cure

  the default.




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        246. The principal balance owing is $3,579.02, plus penalties accruing at

  the annual rate of 6.00%, administrative fees, and interest accruing at the annual

  rate of 6.75%, according to proof.

        247. Therefore, Plaintiff has been harmed in the amount of $4,939.05, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         SIXTIETH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM15969047 (CDCS No.

                                       2024A11378))

        248. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        249. On August 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $510.12. Defendant has failed to make payment when due and has failed to cure

  the default.

        250. The principal balance owing is $510.12, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 9.00%, according to proof.




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        251. Therefore, Plaintiff has been harmed in the amount of $808.42, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         SIXTY-FIRST CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM16126779 (CDCS No.

                                     2024A11279))

        252. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        253. On September 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $400.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        254. The principal balance owing is $400.00, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 9.75%, according to proof.

        255. Therefore, Plaintiff has been harmed in the amount of $631.32, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.




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                         SIXTY-SECOND CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM17079489 (CDCS No.

                                     2024A11212))

        256. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        257. On April 14, 2023, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $400.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        258. The principal balance owing is $400.00, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 10.50%, according to proof.

        259. Therefore, Plaintiff has been harmed in the amount of $583.65, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         SIXTY-THIRD CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM16397613 (CDCS No.

                                     2024A11319))




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        260. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        261. On November 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $300.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        262. The principal balance owing is $300.00, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 11.00%, according to proof.

        263. Therefore, Plaintiff has been harmed in the amount of $468.35, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         SIXTY-FOURTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM16507646 (CDCS No.

                                     2024A11226))

        264. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        265. On December 15, 2022, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $300.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        266. The principal balance owing is $300.00, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 11.00%, according to proof.

        267. Therefore, Plaintiff has been harmed in the amount of $462.33, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         SIXTY-FIFTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM16611614 (CDCS No.

                                     2024A11229))

        268. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        269. On January 13, 2023, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $300.00. Defendant has failed to make payment when due and has failed to cure

  the default.




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        270. The principal balance owing is $300.00, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 11.25%, according to proof.

        271. Therefore, Plaintiff has been harmed in the amount of $452.51, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         SIXTY-SIXTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM16765759 (CDCS No.

                                     2024A11281))

        272. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        273. On February 15, 2023, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $300.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        274. The principal balance owing is $300.00, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 11.25%, according to proof.




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        275. Therefore, Plaintiff has been harmed in the amount of $452.42, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                     SIXTY-SEVENTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM16879983 (CDCS No.

                                     2024A11318))

        276. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        277. On March 15, 2023, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $300.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        278. The principal balance owing is $300.00, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 11.50%, according to proof.

        279. Therefore, Plaintiff has been harmed in the amount of $446.61, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.




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                         SIXTY-EIGHTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM17007145 (CDCS No.

                                     2024A11276))

        280. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        281. On April 14, 2023, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $300.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        282. The principal balance owing is $300.00, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 11.75%, according to proof.

        283. Therefore, Plaintiff has been harmed in the amount of $441.15, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         SIXTY-NINTH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM17165098 (CDCS No.

                                     2024A11364))




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        284. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        285. On May 15, 2023, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $200.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        286. The principal balance owing is $200.00, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 11.75%, according to proof.

        287. Therefore, Plaintiff has been harmed in the amount of $290.30, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         SEVENTIETH CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM17289279 (CDCS No.

                                     2024A11219))

        288. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        289. On June 15, 2023, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of


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  $200.00. Defendant has failed to make payment when due and has failed to cure

  the default.

        290. The principal balance owing is $200.00, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 11.75%, according to proof.

        291. Therefore, Plaintiff has been harmed in the amount of $286.16, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



                         SEVENTY-FIRST CLAIM FOR RELIEF

         (Against Defendant for Claim Number: TRFM17079461 (CDCS No.

                                     2024A11237))

        292. Plaintiff incorporates the allegations in paragraphs 1 through 11 of this

  Complaint as though fully set forth herein.

        293. On April 14, 2023, FCC, by and through Universal Service

  Administrative Co., invoiced Defendant for past due regulatory fees in the sum of

  $37.54. Defendant has failed to make payment when due and has failed to cure the

  default.




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        294. The principal balance owing is $37.54, plus penalties accruing at the

  annual rate of 6.00%, administrative fees, and interest accruing at the annual rate

  of 6.75%, according to proof.

        295. Therefore, Plaintiff has been harmed in the amount of $51.80, plus

  additional accrued penalties and interest according to proof, and attorneys’ fees and

  costs as applicable.



     WHEREFORE, the United States of America, prays for judgment against

  defendants, and each of them as follows:

                            ON THE FIRST CLAIM FOR RELIEF

                 Claim Number: TRFM 10147875 (CDCS No. 2024A10185)

     1. For the sum of $62,797.97 and such additional sums, according to proof.



                            ON THE SECOND CLAIM FOR RELIEF

                 Claim Number: TRFM 12742291 (CDCS No. 2024A10202)

     2. For the sum of $52,876.68 and such additional sums, according to proof.



                            ON THE THIRD CLAIM FOR RELIEF

                 Claim Number: TRFM 13814365 (CDCS No. 2024A10252)

     3. For the sum of $40,794.93 and such additional sums, according to proof.


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                         ON THE FOURTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128355 (CDCS No. 2024A10428)

    4. For the sum of $35,979.89 and such additional sums, according to proof.



                         ON THE FIFTH CLAIM FOR RELIEF

               Claim Number: TRFM 17079462 (CDCS No. 2024A11201)

    5. For the sum of $35,559.19 and such additional sums, according to proof.



                         ON THE SIXTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128352 (CDCS No. 2024A10435)

    6. For the sum of $35,316.58 such additional sums, according to proof.



                         ON THE SEVENTH CLAIM FOR RELIEF

               Claim Number: TRFM 11521375 (CDCS No. 2024A11207)

    7. For the sum of $35,241.28 and such additional sums, according to proof.



                         ON THE EIGHTH CLAIM FOR RELIEF

              Claim Number: TRFM 15128353 (CDCS No. 2024A210942)

    8. For the sum of $34,767.20 and such additional sums, according to proof.


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                         ON THE NINTH CLAIM FOR RELIEF

              Claim Number: TRFM 14179438 (CDCS No. 2024A110298)

    9. For the sum of $34,732.00 and such additional sums, according to proof.



                         ON THE TENTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128356 (CDCS No. 2024A10947)

    10. For the sum of $34,681.64 and such additional sums, according to proof.



                         ON THE ELEVENTH CLAIM FOR RELIEF

               Claim Number: TRFM 11102689 (CDCS No. 2024A10200)

    11. For the sum of $34,476.57 and such additional sums, according to proof.



                         ON THE TWELFTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128354 (CDCS No. 2024A10438)

    12. For the sum of $34,469.52 and such additional sums, according to proof.



                         ON THE THIRTEENTH CLAIM FOR RELIEF

               Claim Number: TRFM 11102691 (CDCS No. 2024A11236)

    13. For the sum of $34,460.63 and such additional sums, according to proof.


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                         ON THE FOURTEENTH CLAIM FOR RELIEF

              Claim Number: TRFM 115128357 (CDCS No. 2024A10954)

    14. For the sum of $34,442.31 and such additional sums, according to proof.



                         ON THE FIFTEENTH CLAIM FOR RELIEF

               Claim Number: TRFM 13350028 (CDCS No. 2024A10303)

    15. For the sum of $34,261.26 and such additional sums, according to proof.



                         ON THE SIXTEENTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128358 (CDCS No. 2024A11225)

    16. For the sum of $34,060.94 and such additional sums, according to proof.



                         ON THE SEVENTEENTH CLAIM FOR RELIEF

              Claim Number: TRFM 111102687 (CDCS No. 2024A11335)

    17. For the sum of $33,865.20 and such additional sums, according to proof.



                         ON THE EIGHTEENTH CLAIM FOR RELIEF

               Claim Number: TRFM 11316203 (CDCS No. 2024A11205)

    18. For the sum of $33,858.38 and such additional sums, according to proof.


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                         ON THE NINETEENTH CLAIM FOR RELIEF

              Claim Number: TRFM 113672470 (CDCS No. 2024A10320)

    19. For the sum of $33,660.97 and such additional sums, according to proof.



                         ON THE TWENTIETH CLAIM FOR RELIEF

               Claim Number: TRFM 15128359 (CDCS No. 2024A11222)

    20. For the sum of $32,956.56 and such additional sums, according to proof.



                         ON THE TWENTY-FIRST CLAIM FOR RELIEF

               Claim Number: TRFM 15128360 (CDCS No. 2024A11284)

    21. For the sum of $32,758.89 and such additional sums, according to proof.



                         ON THE TWENTY-SECOND CLAIM FOR RELIEF

               Claim Number: TRFM 15128349 (CDCS No. 2024A10390)

    22. For the sum of $32,012.11 and such additional sums, according to proof.



                         ON THE TWENTY-THIRD CLAIM FOR RELIEF

               Claim Number: TRFM 11102685 (CDCS No. 2024A10198)

    23. For the sum of $31,994.54 and such additional sums, according to proof.


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                         ON THE TWENTY-FOURTH CLAIM FOR RELIEF

               Claim Number: TRFM 1102688 (CDCS No. 2024A12405)

    24. For the sum of $31,935.10 and such additional sums, according to proof.



                         ON THE TWENTY-FIFTH CLAIM FOR RELIEF

               Claim Number: TRFM 1102690 (CDCS No. 2024A11239)

    25. For the sum of $31,725.03 and such additional sums, according to proof.



                         ON THE TWENTY-SIXTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128350 (CDCS No. 2024A10385)

    26. For the sum of $31,385.00 and such additional sums, according to proof.



                         ON THE TWENTY-SEVENTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128351 (CDCS No. 2024A10367)

    27. For the sum of $31,138.57 and such additional sums, according to proof.



                         ON THE TWENTY-EIGHTH CLAIM FOR RELIEF

               Claim Number: TRFM 15874032 (CDCS No. 2024A11245)

    28. For the sum of $31,122.22 and such additional sums, according to proof.


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                         ON THE TWENTY-NINTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128361 (CDCS No. 2024A11312)

    29. For the sum of $30,801.87 and such additional sums, according to proof.



                         ON THE THIRTIETH CLAIM FOR RELIEF

               Claim Number: TRFM 11102686 (CDCS No. 2024A11228)

    30. For the sum of $30,768.64 and such additional sums, according to proof.



                         ON THE THIRTY-FIRST CLAIM FOR RELIEF

               Claim Number: TRFM 13929511 (CDCS No. 2024A10379)

    31. For the sum of $30,761.26 and such additional sums, according to proof.



                         ON THE THIRTY-SECOND CLAIM FOR RELIEF

               Claim Number: TRFM 13929476 (CDCS No. 2024A10551)

    32. For the sum of $30,310.30 and such additional sums, according to proof.



                         ON THE THIRTY-THIRD CLAIM FOR RELIEF

               Claim Number: TRFM 15128362 (CDCS No. 2024A11317)

    33. For the sum of $30,228.12 and such additional sums, according to proof.


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                         ON THE THIRTY-FOURTH CLAIM FOR RELIEF

               Claim Number: TRFM 13350389 (CDCS No. 2024A10218)

    34. For the sum of $30,218.43 and such additional sums, according to proof.



                         ON THE THIRTY-FIFTH CLAIM FOR RELIEF

               Claim Number: TRFM 13929484 (CDCS No. 2024A10551)

    35. For the sum of $29,998.13 and such additional sums, according to proof.



                         ON THE THIRTY-SIXTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128363 (CDCS No. 2024A10430)

    36. For the sum of $29,957.73 and such additional sums, according to proof.



                         ON THE THIRTY-SEVENTH CLAIM FOR RELIEF

               Claim Number: TRFM 13929486 (CDCS No. 2024A10285)

    37. For the sum of $29,873.62 and such additional sums, according to proof.



                         ON THE THIRTY-EIGHTH CLAIM FOR RELIEF

               Claim Number: TRFM 13707972 (CDCS No. 2024A10257)

    38. For the sum of $29,671.72 and such additional sums, according to proof.


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                         ON THE THIRTY-NINTH CLAIM FOR RELIEF

               Claim Number: TRFM 13730613 (CDCS No. 2024A10211)

    39. For the sum of $28,659.54 and such additional sums, according to proof.



                         ON THE FORTIETH CLAIM FOR RELIEF

               Claim Number: TRFM 13929473 (CDCS No. 2024A10394)

    40. For the sum of $27,607.96 and such additional sums, according to proof.



                         ON THE FORTY-FIRST CLAIM FOR RELIEF

               Claim Number: TRFM 15128364 (CDCS No. 2024A11372)

    41. For the sum of $27,119.62 and such additional sums, according to proof.



                         ON THE FORTY-SECOND CLAIM FOR RELIEF

               Claim Number: TRFM 15128365 (CDCS No. 2024A11272)

    42. For the sum of $26,611.04 and such additional sums, according to proof.



                         ON THE FORTY-THIRD CLAIM FOR RELIEF

               Claim Number: TRFM 15128366 (CDCS No. 2024A11327)

    43. For the sum of $26,396.51 and such additional sums, according to proof.


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                         ON THE FORTY-FOURTH CLAIM FOR RELIEF

               Claim Number: TRFM 13764602 (CDCS No. 2024A10214)

    44. For the sum of $26,249.60 and such additional sums, according to proof.



                         ON THE FORTY-FIFTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128367 (CDCS No. 2024A11248)

    45. For the sum of $25,488.48 and such additional sums, according to proof.



                         ON THE FORTY-SIXTH CLAIM FOR RELIEF

               Claim Number: TRFM 15128348 (CDCS No. 2024A10359)

    46. For the sum of $25,024.38 and such additional sums, according to proof.



                         ON THE FORTY-SEVENTH CLAIM FOR RELIEF

               Claim Number: TRFM 15261917 (CDCS No. 2024A11321)

    47. For the sum of $24,641.18 and such additional sums, according to proof.



                         ON THE FORTY-EIGHTH CLAIM FOR RELIEF

               Claim Number: TRFM 15726567 (CDCS No. 2024A10957)

    48. For the sum of $24,418.29 and such additional sums, according to proof.


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                         ON THE FORTY-NINTH CLAIM FOR RELIEF

               Claim Number: TRFM 12721380 (CDCS No. 2024A11208)

    49. For the sum of $18,088.08 and such additional sums, according to proof.



                         ON THE FIFTIETH CLAIM FOR RELIEF

               Claim Number: TRFM 12182526 (CDCS No. 2024A11209)

    50. For the sum of $17,741.76 and such additional sums, according to proof.



                         ON THE FIFTY-FIRST CLAIM FOR RELIEF

               Claim Number: TRFM 13929468 (CDCS No. 2024A10246)

    51. For the sum of $16,216.18 and such additional sums, according to proof.



                         ON THE FIFTY-SECOND CLAIM FOR RELIEF

               Claim Number: TRFM 17079463 (CDCS No. 2024A11230)

    52. For the sum of $12,829.73 and such additional sums, according to proof.



                         ON THE FIFTY-THIRD CLAIM FOR RELIEF

               Claim Number: TRFM 13746314 (CDCS No. 2024A11354)

    53. For the sum of $12,074.14 and such additional sums, according to proof.


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                         ON THE FIFTY-FOURTH CLAIM FOR RELIEF

               Claim Number: TRFM 16581304 (CDCS No. 2024A11227)

    54. For the sum of $7,466.95 and such additional sums, according to proof.



                         ON THE FIFTY-FIFTH CLAIM FOR RELIEF

               Claim Number: TRFM 14622709 (CDCS No. 2024A10376)

    55. For the sum of $7,064.98 and such additional sums, according to proof.



                         ON THE FIFTY-SIXTH CLAIM FOR RELIEF

               Claim Number: TRFM 10479939 (CDCS No. 2024A11309)

    56. For the sum of $6,540.86 and such additional sums, according to proof.



                         ON THE FIFTY-SEVENTH CLAIM FOR RELIEF

               Claim Number: TRFM 13040485 (CDCS No. 2024A10206)

    57. For the sum of $6,157.44 and such additional sums, according to proof.



                         ON THE FIFTY-EIGHTH CLAIM FOR RELIEF

               Claim Number: TRFM 13867088 (CDCS No. 2024A10251)

    58. For the sum of $6,078.41 and such additional sums, according to proof.


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                         ON THE FIFTY-NINTH CLAIM FOR RELIEF

               Claim Number: TRFM 17079464 (CDCS No. 2024A11274)

    59. For the sum of $4,939.05 and such additional sums, according to proof.



                         ON THE SIXTIETH CLAIM FOR RELIEF

               Claim Number: TRFM 15969047 (CDCS No. 2024A11378)

    60. For the sum of $808.42 and such additional sums, according to proof.



                         ON THE SIXTY-FIRST CLAIM FOR RELIEF

               Claim Number: TRFM 16126779 (CDCS No. 2024A11279)

    61. For the sum of $631.32 and such additional sums, according to proof.



                         ON THE SIXTY-SECOND CLAIM FOR RELIEF

               Claim Number: TRFM 17079489 (CDCS No. 2024A11212)

    62. For the sum of $583.65 and such additional sums, according to proof.



                         ON THE SIXTY-THIRD CLAIM FOR RELIEF

               Claim Number: TRFM 16397613 (CDCS No. 2024A11319)

    63. For the sum of $468.35 and such additional sums, according to proof.


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                         ON THE SIXTY-FOURTH CLAIM FOR RELIEF

               Claim Number: TRFM 16507646 (CDCS No. 2024A11226)

    64. For the sum of $462.33 and such additional sums, according to proof.



                         ON THE SIXTY-FIFTH CLAIM FOR RELIEF

               Claim Number: TRFM 16611614 (CDCS No. 2024A11229)

    65. For the sum of $452.51 and such additional sums, according to proof.



                         ON THE SIXTY-SIXTH CLAIM FOR RELIEF

               Claim Number: TRFM 16715759 (CDCS No. 2024A11281)

    66. For the sum of $452.42 and such additional sums, according to proof.



                         ON THE SIXTY-SEVENTH CLAIM FOR RELIEF

               Claim Number: TRFM 16879983 (CDCS No. 2024A11318)

    67. For the sum of $446.61 and such additional sums, according to proof.



                         ON THE SIXTY-EIGHTH CLAIM FOR RELIEF

               Claim Number: TRFM 17007145 (CDCS No. 2024A11276)

    68. For the sum of $441.15 and such additional sums, according to proof.


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                           ON THE SIXTY-NINTH CLAIM FOR RELIEF

               Claim Number: TRFM 17165098 (CDCS No. 2024A11364)

    69. For the sum of $290.30 and such additional sums, according to proof.



                           ON THE SEVENTIETH CLAIM FOR RELIEF

               Claim Number: TRFM 17289279 (CDCS No. 2024A11219)

    70. For the sum of $286.16 and such additional sums, according to proof.



                           ON THE SEVENTY-FIRST CLAIM FOR RELIEF

               Claim Number: TRFM 17079461 (CDCS No. 2024A11237)

    71. For the sum of $51.80 and such additional sums, according to proof.



                         ON EACH CLAIM FOR RELIEF

    72. For continuing interest and penalties;

    73. For attorneys’ fees according to proof;

    74. For costs of suit; and

    75. For such other and further relief as the court considers proper.




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        WHEREFORE, Plaintiff UNITED STATES OF AMERICA demands

  judgment against the Defendant in the sum of $1,682,710.18, plus interest and

  penalties according to proof, attorneys’ fees, and court costs.



      Date: August 23, 2024               By:   s/ Jae Y. Kim
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